                  Case 18-80856      Doc 5     Filed 11/16/18    Page 1 of 11



                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                DURHAM DIVISION

In re:                                              )       Chapter 11
                                                    )
ADVANCED SPORTS ENTERPRISES, INC.,                  )       Case No. 18-80856
                                                    )
               Debtor.                              )
                                                    )
                                                    )
In re:                                              )       Chapter 11
                                                    )
ADVANCED SPORTS, INC.,                              )       Case No. 18-80857
                                                    )
               Debtor.                              )
                                                    )
                                                    )
In re:                                              )       Chapter 11
                                                    )
PERFORMANCE DIRECT, INC.,                           )       Case No. 18-80860
                                                    )
               Debtor.                              )
                                                    )
                                                    )
In re:                                              )       Chapter 11
                                                    )
BITECH, INC.,                                       )       Case No. 18-80858
                                                    )
               Debtor.                              )
                                                    )
                                                    )
In re:                                              )       Chapter 11
                                                    )
NASHBAR DIRECT, INC.,                               )       Case No. 18-80859
                                                    )
               Debtor.                              )
                                                    )       (Joint Administration Requested)
                                                    )       (Emergency Hearing Requested)

                   DEBTORS’ MOTION FOR AN ORDER DIRECTING
                   JOINT ADMINISTRATION OF CHAPTER 11 CASES

         Advanced Sports Enterprises, Inc., Advanced Sports, Inc., Performance Direct, Inc.,

Bitech, Inc., and Nashbar Direct, Inc. (collectively, the “Debtors”) file this Motion for an Order
                  Case 18-80856       Doc 5      Filed 11/16/18   Page 2 of 11



Directing Joint Administration of Chapter 11 Cases (the “Motion”). In support of this Motion,

the Debtors respectfully represent as follows:

                                JURISDICTION AND VENUE

   1.      This Court has jurisdiction over these cases and this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

   2.      The statutory predicate for the relief requested herein is Rule 1015(b) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                        BACKGROUND

   3.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary petition

with the Court under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

(the “Bankruptcy Code”).

   4.      On the Petition Date, each Debtor filed a substantially similar motion with this Court

seeking to have its bankruptcy case jointly administered with the other Debtors’ cases pursuant to

Bankruptcy Rule 1015(b).

   5.      The factual background relating to the Debtors’ commencement of these cases is set

forth in detail in the Declaration of Patrick Cunnane in Support of First Day Motions and

Applications filed on the Petition Date and incorporated herein by reference.

   6.      The Debtors have continued in possession of their properties and have continued to

manage their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.




                                                  2
                  Case 18-80856       Doc 5        Filed 11/16/18   Page 3 of 11



   7.       As of the date of this filing, no official committee of unsecured creditors has been

appointed in any of these cases, and no request has been made for the appointment of a trustee or

examiner.

                                     RELIEF REQUESTED

   8.       The Debtors intend to file with the Court numerous motions and applications, including

the various motions and applications which have been filed on the first day of these cases. Joint

administration for procedural purposes of these cases will avoid unnecessary delay and expense

by obviating the need for the Debtors to file duplicative motions and applications and for the Court

to enter duplicative orders in each of these chapter 11 cases. Joint administration will also avoid

the burdensome necessity of duplicating notices to numerous creditors. Finally, supervision of the

administrative aspects of these chapter 11 cases by the U.S. Bankruptcy Administrator will be

simplified by joint administration of these cases.

   9.       The rights of the respective creditors will not be adversely affected by joint

administration of these cases because the relief sought in this Motion is purely procedural and is

in no way intended to affect substantive rights.

   10.      The Debtors also request, for the convenience of all parties and the Court, that these

chapter 11 cases be jointly administered under the lowest case number and that all court papers

pertaining thereto be filed under the following caption:




                                                    3
                  Case 18-80856        Doc 5    Filed 11/16/18      Page 4 of 11



                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                DURHAM DIVISION


In re:                                                )       Chapter 11
                                                      )
Advanced Sports Enterprises, Inc., et al.,1           )       Case No. 18-80856
                                                      )       (Jointly Administered)
                                                      )
                Debtors.                              )
                                                      )
1
    The Debtors in this case, along with each Debtor’s case number, are: (i) Advanced Sports
    Enterprises, Inc., Case No. 18-80856; (ii) Advanced Sports, Inc., Case No. 18-80857; (iii)
    Performance Direct, Inc., Case No. 18-80860; (iv) Bitech, Inc., Case No. 18-80858; and (v)
    Nashbar Direct, Inc., Case No. 18-80859. Each Debtor is a North Carolina Corporation.

     11.    The Debtors also seek the Court’s direction that a notation substantially similar to the

following notation be entered on the docket of each of the Debtors’ cases to reflect the joint

administration of these cases:

                     An Order has been entered in this case directing the procedural
                     consolidation and joint administration of: Advanced Sports
                     Enterprises, Inc., Case No. 18-80856; Advanced Sports, Inc.,
                     Case No. 18-80857; Performance Direct, Inc., Case No. 18-
                     80860; Bitech, Inc., Case No. 18-80858; and Nashbar Direct,
                     Inc., Case No. 18-80859. All further pleadings and other
                     papers shall be filed in and all further docket entries shall
                     be made in Case No. 18-80856.

     12.    Finally, the Debtors seek authority to file the monthly operating reports required by the

U.S. Bankruptcy Administrator on a consolidated basis. This will further administrative economy

and efficiency without prejudice to any party-in-interest.

                                      BASIS FOR RELIEF

     13.    Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more petitions are

pending in the same court by or against . . . a debtor and an affiliate, the court may order a joint




                                                  4
                     Case 18-80856       Doc 5     Filed 11/16/18     Page 5 of 11



administration of the estates.” The Debtors are “affiliates” as that term is defined under section

101(2) of the Bankruptcy Code. Accordingly, the Court is authorized to grant the requested relief.

                                                NOTICE

   14.         Notice of this Motion shall be provided as set forth in the Debtors’ Emergency Motion

for an Order Shortening Notice and Scheduling Expedited Hearing on First Day Motions, or as

may otherwise be directed by this Court.

                                            CONCLUSION

         WHEREFORE the Debtors respectfully request that this Court:

         (a)      enter an order in the form attached hereto as Exhibit A granting the relief requested

                  herein; and

         (b)      grant the Debtors such other and further relief as is just and proper.

                      [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                    5
               Case 18-80856   Doc 5    Filed 11/16/18    Page 6 of 11




Dated: November 16, 2018               Respectfully submitted,

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                                          6
Case 18-80856   Doc 5   Filed 11/16/18   Page 7 of 11



                   EXHIBIT A

                 Proposed Order
            Case 18-80856   Doc 5   Filed 11/16/18   Page 8 of 11




             IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         DURHAM DIVISION

In re:                                   )     Chapter 11
                                         )
ADVANCED SPORTS ENTERPRISES, INC.,       )     Case No. 18-80856
                                         )
          Debtor.                        )
                                         )
                                         )
In re:                                   )     Chapter 11
                                         )
ADVANCED SPORTS, INC.,                   )     Case No. 18-80857
                                         )
          Debtor.                        )
                                         )
                                         )
In re:                                   )     Chapter 11
                                         )
PERFORMANCE DIRECT, INC.,                )     Case No. 18-80860
                                         )
          Debtor.                        )
                                         )
                                         )



                                     1
                   Case 18-80856        Doc 5     Filed 11/16/18      Page 9 of 11




In re:                                                  )       Chapter 11
                                                        )
BITECH, INC.,                                           )       Case No. 18-80858
                                                        )
                Debtor.                                 )
                                                        )
                                                        )
In re:                                                  )       Chapter 11
                                                        )
NASHBAR DIRECT, INC.,                                   )       Case No. 18-50859
                                                        )
                Debtor.                                 )       (Jointly Administered)
                                                        )
                                                        )

         ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

         This matter is before the Court on the Debtors’ Motion for an Order Directing Joint

Administration of Chapter 11 Cases (the “Motion”) of Advanced Sports Enterprises, Inc.,

Advanced Sports, Inc., Performance Direct, Inc., Bitech, Inc., and Nashbar Direct, Inc.

(collectively, the “Debtors”). All capitalized terms used but not defined herein shall have the

meanings given to them in the Motion.

         The Court has considered the Motion, the Declaration of Patrick Cunnane in Support of

First Day Motions and Applications, and the matters reflected in the record of the hearing held on

the Motion on November ____, 2018. It appears that the Court has jurisdiction over this

proceeding; that this is a core proceeding; that appropriate notice was given under the

circumstances and that no other notice need be provided; that the relief sought in the Motion is in

the best interests of the Debtors, their estates, and their creditors; and that good and sufficient cause

exists for such relief.

         Accordingly, it is hereby ORDERED as follows:

         1.     The Motion is GRANTED.



                                                   2
                  Case 18-80856       Doc 5     Filed 11/16/18     Page 10 of 11



         2.     The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court.

         3.     Nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of any of the above-captioned cases.

         4.     The caption of the jointly administered cases should read as follows:

                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               DURHAM DIVISION


In re:                                                 )      Chapter 11
                                                       )
Advanced Sports Enterprises, Inc., et al.,1            )      Case No. 18-80856
                                                       )      (Jointly Administered)
                                                       )
                Debtors.                               )
                                                       )
1
    The Debtors in this case, along with each Debtor’s case number, are: (i) Advanced Sports
    Enterprises, Inc., Case No. 18-80856; (ii) Advanced Sports, Inc., Case No. 18-80857; (iii)
    Performance Direct, Inc., Case No. 18-80860; (iv) Bitech, Inc., Case No. 18-80858; and (v)
    Nashbar Direct, Inc., Case No. 18-80859. Each Debtor is a North Carolina Corporation.

         5.     All pleadings and other papers filed in these cases, with the exception of proofs of

claim, schedules and statements, and lists of creditors, shall be filed under the lead case, Advanced

Sports Enterprises, Inc. (Case No. 18-80856).

         6.     A notation substantially similar to the following notation shall be entered on the

docket of each of the Debtors’ cases to reflect the joint administration of these cases:

                     An Order has been entered in this case directing the procedural
                     consolidation and joint administration of: Advanced Sports
                     Enterprises, Inc., Case No. 18-80856; Advanced Sports, Inc.,
                     Case No. 18-80857; Performance Direct, Inc., Case No. 18-
                     80860; Bitech, Inc., Case No. 18-80858; and Nashbar Direct,
                     Inc., Case No. 18-80859. All further pleadings and other
                     papers shall be filed in and all further docket entries shall
                     be made in Case No. 18-80856.


                                                 3
                 Case 18-80856        Doc 5     Filed 11/16/18     Page 11 of 11



       7.      The Debtors shall be permitted to file their monthly operating reports required by

the U.S. Bankruptcy Administrator Operating Guidelines on a consolidated basis.

       8.      The Debtors are directed to serve a copy of this Order on all creditors and interested

parties within three (3) business days of the entry of this Order and to file a certificate of service

with the Clerk of the Court.

                                     [END OF DOCUMENT]




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